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                           In the United States District Court
                              Eastern District of Arkansas
                                   Western Division

Donna Waugh                                                             Plaintiff

v.                                     4:17-cv-755-JM

Hood & Stacy, P.A. d/b/a Hood & Stacy                                   Defendant


                                         ORDER

      Before the Court is Plaintiff Donna Waugh’s Motion to Dismiss with Prejudice.

Upon consideration, the Court finds the motion should be and hereby is granted. Plaintiff’s

claims against all Defendant Hood & Stacy, P.A. d/b/a Hood & Stacy are dismissed with

prejudice.

        IT IS SO ORDERED this 28th day of March, 2018.




                                                            _______________________
                                                            Hon. James M. Moody, Jr.
                                                            U.S. District Court
